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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

ALAN PRESSWOOD, D.C., P.C.,            )
                                       )
            Plaintiff,                 )
                                       )
      vs.                              )        Case No. 4:15-CV-536-CEJ
                                       )
KABERLINE HEALTHCARE                   )
INFORMATICS, INC., et al.,             )
                                       )
            Defendants.                )

                             ORDER OF DISMISSAL

      The plaintiff having filed a notice and amended notice of voluntary dismissal,

and in accordance with Rule 41(a)(2) of the Federal Rules of Civil Procedure,

      IT IS HEREBY ORDERED that this action is dismissed without prejudice

as to defendants John Does 1–10.

      IT IS FURTHER ORDERED that this action is dismissed with prejudice as

to defendant Kaberline Healthcare Informatics, Inc.

      The parties shall bear their own costs.




                                                CAROL E. JACKSON
                                                UNITED STATES DISTRICT JUDGE

      Dated this 1st day of June, 2015.
